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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTH DAKOTA

Northern Bottling Co., Inc.,                    )
                                                )
                 Plaintiff,                     )       ORDER
                                                )
       vs.                                      )
                                                )
PepsiCo, Inc.,                                  )       Case No. 4:15-cv-133
                                                )
                 Defendant.                     )


       The court held a status conference with the parties by telephone on December 5, 2017.

Pursuant to its discussions with the parties, the court ORDERS:

       (1)       Defendant shall produce documents as directed by the court in its order regarding the

                 motions to compel by February 28, 2018.

       (2)       Plaintiff shall have until March 30, 2018, to complete its Rule 30(b)(6) deposition

                 of defendant

       (3)       The parties shall provide the names of expert witnesses and complete reports under

                 Rule 26(a)(2) as follows:

                 a.      Plaintiff shall provide the names of expert witnesses and complete reports by

                         May 15, 2018; and

                 b.      Defendant shall provide the names of expert witnesses and complete reports

                         by July 2, 2018.

       (4)       The parties shall have until September 5, 2018, to file other dispositive motions

                 (summary judgment as to all or part of the case).

       (5)       The final pretrial conference set for April 10, 2018, shall be rescheduled for March


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       19, 2019, at 2:00 p.m. by telephone before the magistrate judge. The court shall

       initiate the conference call.

(6)    The jury trial set for April 23, 2018, shall be rescheduled for April 1, 2019, at 9:00

       a.m. at the U.S. Courthouse in Bismarck, North Dakota, before Chief Judge Hovland.

       A ten (10) day trial is anticipated.

Dated this 5th day of December, 2017.

                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court




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